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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT
for the
Middle District of Georgia

United States of America }
y. )

Diego Ibarra Case No.
)
)
)

Defendant(s}
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 23, 2024 in the county of Clarke in the
Middle District of Georgia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C, Sect. 1546(a) Possession of Fraudulent Document (please see attachment titled
“Charge").

This criminal complaint is based on these facts:

See attached affidavit

wf Continued on the attached sheet.

Bennie Bryant Jr., HSINCE Special Agent

Printed namie and title

Sworn to before me and signed in my presence.

Date: Febru, 23, 2024 : <2kef

Judge's Signature

City and state: Macon, Georgia Charles H. Weigle, U.S. Magistrate Judge

Printed name and title
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CHARGE
(POSSESSION OF FRAUDULENT DOCUMENT)

On or about February 23, 2024, in the Athens Division of the Middle District of Georgia,
the defendant,
DIEGO IBARRA,
did knowingly possess a document prescribed by statute and regulation for entry into or as
evidence of authorized stay or employment in the United States, that is a Permanent Resident
Card, in the name Diego Jose Ibarra, which the defendant knew to be forged, counterfeited,

altered, or otherwise falsely made, in violation of 18 U.S.C, Section 1546(a).
